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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR HOME
  CARE & HOSPICE,

               Plaintiff,

        v.                                          No. 1:23-cv-1942 (TNM)

XAVIER BECERRA, in his official capacity
  as Secretary of Health and Human
  Services,

               Defendant.


             DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR
              SUMMARY JUDGMENT AND CROSS-MOTION TO DISMISS
               OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       Pursuant to Rules 12(b)(1) and 56 of the Federal Rules of Civil Procedure, Defendant

Xavier Becerra, in his official capacity as Secretary of Health and Human Services, opposes

Plaintiff’s motion for summary judgment and hereby cross-moves the Court to dismiss Plaintiff’s

complaint or, in the alternative, grant summary judgment in Defendant’s favor. The grounds

supporting this motion are set forth in the accompanying memorandum of points and authorities.

In accordance with the Local Rules, this motion is accompanied by a proposed order.



 Dated: December 15, 2023                          Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   ERIC B. BECKENHAUER
                                                   Assistant Director




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